        Case
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 5                                UNITED STATES DISTRICT COURT

 6                                      DISTRICT OF NEVADA

 7 UNITED STATES OF AMERICA,                        )
                                                    )
 8                        Plaintiff,                )
                                                    )
 9         v.                                       ) 2:11-CR-327-PMP-(CWH)
                                                    )
10 MICHAEL CLYDE DUTY,                              )
                                                    )
11                        Defendant.                )
12               FINAL ORDER OF FORFEITURE AS TO MICHAEL CLYDE DUTY

13           On January 16, 2013, this Court entered an Amended Preliminary Order of Forfeiture

14 pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); and Title 18, United States Code, Section 924(d)(1)

15 and Title 28, United States Code, Section 2461(c) forfeiting property of defendant MICHAEL CLYDE

16 DUTY to the United States of America. Criminal Indictment, ECF No. 1; Change of Plea Minutes,

17 ECF No. 75; Plea Memorandum, ECF No. 76; Amended Preliminary Order of Forfeiture, ECF

18 No.112.

19           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED pursuant to Fed. R. Crim. P

20 32.2(b)(4)(A) and (B); Title 18, United States Code, Section 924(d)(1) and Title 28, United States

21 Code, Section 2461(c) that the forfeiture of the property named in the Amended Preliminary Order of

22 Forfeiture is final as to defendant MICHAEL CLYDE DUTY.

23                      26th
           DATED this ___ dayday  of August,
                              of ______ 2013.2013.

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25

26                                             UNITED STATES DISTRICT JUDGE
                                                                      JUD
        Case
         Case2:11-cr-00327-JCM-CWH
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 1
                                           PROOF OF SERVICE
 2
            I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following
 3
     individuals were served with a copy of the Final Order of Forfeiture as to Defendant Michael Clyde
 4
     Duty on August 23, 2013, by the below identified method of service:
 5
            CM/ECF:
 6
            Michael Ryan Pandullo
 7          700 South Third Street
            Las Vegas, NV 89101
 8          Michael.pandullo@gmail.com
            Attorney for Michael Paul Matulich
 9
            Paola M. Armeni
10          Gordon & Silver, Ltd.
            3960 Howard Hughes Pkwy 9th Fl.
11          Las Vegas, NV 89169
            usdcnotices@gordonsilver.com
12          Attorney for Bo Arden Ellison
13          James Hartsell
            Law Offices of James Hartsell
14          720 S. 4th St. Ste. 100
            Las Vegas, NV 89101
15          james@harselllaw.com
            Attorney for Michael Clyde Duty
16
            Richard F. Boulware
17          Federal Public Defender
            411 E. Bonneville
18          Las Vegas, NV 89101
            Richard_Boulware@fd.org
19          Attorney for Angel Sesteaga
20

21                                                        /s/ Ray Southwick
                                                          Ray Southwick
22                                                        Forfeiture Support Associates Paralegal
23

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